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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

IN RE SYNACOR DERIVATIVE LITIGATION
No. 1:19-ev-00052-EA W

 

 

STIPULATION AND [PROPOSED] ORDER
MAINTAINING STAY OF CONSOLIDATED DERIVATIVE ACTION

Plaintiffs Stephen R. Heimberg and Matthew Tucker, Nominal Defendant Synacor, Inc.
(“Synacor”), and Defendants Himesh Bhise, William J. Stuart, Jordan Levy, Marwan Fawaz,
Gary L. Ginsberg, Andrew Kau, Michael J. Montgomery, Scott Murphy, and Elisabeth B.
Donohue (collectively, the “Individual Defendants,” and together with Synacor, “Defendants”),
by and through their respective counsel, hereby stipulate and agree as follows, subject to the
Court’s approval:

WHEREAS, on May 13, 2019, the Court stayed the above-captioned shareholder
derivative action (the “Derivative Action”) pending decision on a motion to dismiss in Lefkowitz
v. Synacor, Inc., No 1:18-cv-02979-LGS (S.D.N.Y. filed Apr. 4, 2018) (the “Securities Class
Action”);

WHEREAS, on August 28, 2019, the Southern District of New York (Schofield, J.)
issued an opinion and order granting in full defendants’ motion to dismiss the Securities Class
Action (the “August 28 Order”);

WHEREAS, on September 3, 2019, the Court maintained the stay of this Derivative Action
pending resolution of the Securities Class Action plaintiffs’ application seeking leave to replead;

WHEREAS, on November 15, 2019, the Southern District of New York denied the

Securities Class Action plaintiffs’ application seeking leave to replead:

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IT IS HEREBY STIPULATED AND AGREED among the undersigned parties, subject

to the Court’s approval, that:
1, If the Securities Class Action plaintiffs file a notice of appeal, then this Derivative
Action shall remain stayed until the final resolution of that appeal.
2, If the Securities Class Action plaintiffs do not file a notice of appeal, then this

Derivative Action shall remain stayed until January 6, 2020.

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Dated: November 26, 2019

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* pro hac vice applications forthcoming

 
  

Respectfully Submitted,

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